          Case 2:22-cv-00092-RDP Document 1 Filed 01/24/22 Page 1 of 21                                                                FILED
                                                                                                                              2022 Jan-24 PM 02:56
                                                                                                                              U.S. DISTRICT COURT
                                                                                                                                  N.D. OF ALABAMA
Pro Se 7 (Rev 10/16) Complaint for Employment Discrimination


                                          United States District Court
                                               for the
                                   NORTHERN DISTRICT OF ALABAMA 1UZ J'                                           '   \   ,,     10
William Matthew Wade                                                            }
                  Plaintiff,                                                    }
(Write your full name. No more than one plaintiff may be named in a prose       }
complaint)                                                                      }
                                                                                }
   Neil Graff- Chief Officer                                                    }
v. Debra Larrison- Director                                                     }
   Angela Cannon- Assistant Director                                            }
   Jarrod Jones- Assistant Director                                             }
   Tonia Stephens- H.R. Director                                                }   JURYTRIAL D        Yes   D       No
   Lynsey Coston-Haynie- District Supervisor                                    }
   Alicia Greene- District Supervisor
   Carrie Harkins- District Supervisor                                          l
   Paul Cook- Manager 111                                                       l
   Shante Spencer - Sales Associate                                             l
                   Defendant(s),                                                }
(Wr11e the full name of each defendant who is being sued. If the names ofall    }
defendants cannot fit in the space above, please write "see attached" in the    }
space and attach an additional page with thejilll list of names)                }




                              COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I.         The Parties to This Complaint
           A.         The Plaintiff
                      Name                                         William M. Wade

                      Street Address                               1113 Sunset Blvd

                      City and County                              Birmingham Jefferson

                      State and Zip Code                           Alabama 35213

                      Telephone Number                             256 458-2379

                      E-mail Address (if known)                    william.wade0714@outlook.com

                      D          Check here to receive electronic notice through the e-mail listed above, By
                                 checking this box, the undersigned consents to electronic service and waives
                                 the right to personal service by first class mail pursuant to Federal Rule of
                                 Civil Procedure 5(b)(2), except with regard to service of a summons and
                                 complaint. The Notice of Electronic Filing will allow one free look at the
                                 document, and any attached PDF may be printed and saved.


01/21/2022
Date                                                                           Participant Signature
                                                                Page 1 of7
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Pro Se 7 <Rey 10/16) Complaint for Employment Discrimination


II.       Basis for Jurisdiction
          B.        The Defendant(s)
                    Provide the information below for each defendant named in the complaint,
                    whether the defendant is an individual, a government agency, an organization or a
                    corporation. For an individual defendant, include the person's job or title (if
                    known). Attach additional pages if needed.


                    Defendant No. I
                              Name                                 Neil Graff

                              Job or Title (if known)             Chief Officer ABC Board

                              Street Address                      2715 Gunter Park Dr

                              City and County                      Montgomery, Montgomery

                              State and Zip Code                  Alabama 36109

                              Telephone Number                    334 271-3840
                              E-mail Address (if known)

                    Defendant No. 2
                              Name                                Tonia Stephens

                              Job or Title (if known)             ABC Board H.R. Director

                              Street Address                      2715 Gunter Park Dr

                              City and County                     Montgomery, Montgomery

                              State and Zip Code                  Alabama 36109

                              Telephone Number                    (334) 260-5416

                              E-mail Address (if known)           tonia.Stephens@abc.alabama.gov

                    Defendant No. 3
                              Name                                Jarrod Jones

                              Job or Title (if known)             ABC Board Assistant Director

                              Street Address                      5100 East Lake Blvd

                              City and County                     Birmingham Jefferson

                              State and Zip Code                  Alabama 35217

                              Telephone Number
                              E-mail Address (if known)



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Pro Se 7 £Rev. 10/16) Complaint for Employment Discrimination


                    Defendant No. 4
                               Name                               Lynsey Coston-Haynie

                               Job or Title (if known)            ABC Board District #3 Supervisor

                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (if known)
          C.        Place of Employment
                    The address at which I sought employment or was employed by the defendant(s)
                    is:
                               Name                               Alabama Alcoholic Beverage Control Board

                               Street Address                     2715 Gunter Park Dr

                               City and County                    Montgomery, Montgomery

                               State and Zip Code                 Alabama 36109

                               Telephone Number                   334 334 271-3840

II.       Basis for Jurisdiction
          This action is brought for discrimination m employment pursuant to (check all that
          apply):
          D         Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to
                    2000e-17 (race color, gender, religion, national origin).
                    (Note: In order to bring suit in federal district court under Title VII, you must
                    first obtain a Notice of Right lo Sue letter from the Equal Employment
                    Opportunity Commission.)
          D         Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to
                    634.
                    (Note:        In order to bring suit in federal district court under the Age
                    Discrimination in Employment Act, you must first file a charge with the Equal
                    Employment Opportunity Commission.)




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Defendants continued:

Defendant No. 5

Name                Debra Larrison

Job Title           ABC Board Stores Director

Street Address      2715 Gunter Park Dr

City County        Montgomery, Montgomery

State and Zip      Alabama 36109

Telephone Number 334 260-5416

Email Address



Defendant No. 6

Name                Angela Cannon

Job Title           ABC Board Assistant Director

Street Address

City County

State and Zip

Telephone Number

Email Address



Defendant No. 7

Name                Alicia Greene

Job Title           ABC Board District Supervisor

Street Address     5100 East Lake Blvd

City County        Birmingham, Jefferson

State and Zip      Alabama 35217

Telephone Number

Email Address
            Case 2:22-cv-00092-RDP Document 1 Filed 01/24/22 Page 5 of 21




Defendant No. 8

Name                 Carrie Harkins

Job Title            ABC Board District #2 Supervisor

Street Address      5100 East Lake Blvd

City County          Birmingham Jefferson

State and Zip       Alabama 35217

Telephone Number

Email Address



Defendant No. 9

Name                 Paul Cook

Job Title            ABC Board Store Manager Ill

Street Address      5100 East Lake Blvd

City County         Birmingham Jefferson

State and Zip       Alabama 35217

Telephone Number

Email Address




Defendant No. 10

Name               Shante Spencer

Job Title           ABC Sales Associate

Street Address      5100 East Lake Blvd

City County         Birmingham Jefferson

State and Zip       Alabama 35217

Telephone Number

Email Address
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Pro Se 7 (Rey 10/\6) Complaint for Employment Discrimination


          D         Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to
                    12117.
                    (Note: In order to bring suit in federal district court under the Americans with
                    Disabilities Act, you must first obtain a Notice of Right to Sue letter from the
                    Equal Employment Opportunity Commission.)
          D         Other federal law (specifY the federal law):


                    Relevant state law (specifY,          if known):

                    Relevant city or county law (specifY, if known):
III.      Statement of Claim
          Write a short and plain statement of the claim. Do not make legal arguments. State as
          briefly as possible the facts showing that plaintiff is entitled to the damages or other relief
          sought. State how each defendant was involved and what each defendant did that caused
          the plaintiff harm or violated the plaintiffs rights, including the dates and places of that
          involvement or conduct. If more than one claim is asserted, number each claim and write
          a short and plain statement of each claim in a separate paragraph. Attach additional pages
          if needed.
          A.        The discriminatory conduct of which 1 complain in this action includes (check all
                    that apply):
                    D         Failure to hire me

                    Ii(]      Termination of my employment

                    D         Failure to promote me
                    D         Failure to accommodate my disability

                    D         Unequal terms and conditions of my employment
                    Kl        Retaliation
                    [ii       Other acts (speci.fY): _A_,g'-e-'-'-"g'--e_n_d_e_r_ _ _ _ _ _ _ _ _ _ _ __

                              (Note: Only those grounds raised in the charge filed with the Equal
                              Employment Opportunity Commission can be considered by the federal
                              district court under the federal employment discrimination statutes.)




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           Charge of Wrongful Termination of William Matthew Wade against
                          The State of Alabama ABC Board




I am a 61-year-old former male manager for The State of Alabama ABC Board. I was a

tenured career employee for The State of Alabama ABC Board for twenty-three years,

thirteen as a manager. I am writing to complain of discrimination, retaliation, and

targeting because of my age, gender, and filing complaints with The Ethics Board and

The ABC Human Resources.


I was an excellent employee during the entire period of working for The State of

Alabama ABC Board. I followed the Policy and Procedure manual to the best of my

ability. I was punctual, reliable, ethical, efficient, and fair. I treated all management and

subordinates with respect.


I was fired according to the position statement from The State of Alabama ABC Board

for theft and insubordination. Once I was fired and the money was deposited or Regions

credited the deposit. I do not know. The State of Alabama ABC Board nor Regions Bank

has contacted me about the recovery of the money. I was blocked from receiving my

unemployment because of misconduct, but the money was always there and I am still

blocked.


The State of Alabama ABC Board said I was insubordinate. The State of Alabama ABC

Board claimed Covid shortage when they shut down stores and had excess employees in

most stores including Store #39 Trussville where I was located from the overflow of the




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          Charge of Wrongful Termination of Wiiiiam Matthew Wade against
                         The State of Alabama ABC Board
closed stores. There was no shortage in the retail stores. This is documented by The

State of Alabama ABC Board.


I was injured on the job June 26, 2019 at Store #236 Tarrant. I was put on light duty and

continued to work while my injury was being evaluated. The State of Alabama ABC

Board I was out on workers compensation for three months starting on August 22, 2019.

Sales Associate Shante Spencer, a new hire transfer from Moody barely off probation

had been assisting Manager Ill Paul Cook during my absence. Manager Ill Paul Cook was

leaving a sales associate in charge every day when he left at noon. I told District

Supervisor Haynie, Sales Associate Shante Spencer did not have the training or the

knowledge of Policy and Procedure to be in this position. We had at least four or five

other employees with more experience and better qualified for this position.


Sales Associate Shante Spencer let a customer walk out of the store owing $2000.00 on

Friday August 16, 2019. She would not admit to accountability. I had to tell her, she

would have to call the customer who underpaid and tell them to pay or she would have

to pay it. The customer paid three business days later on Wednesday August 22, 2019.


When I returned to light duty work on workers compensation November 19, 2019, Sales

Associate Shante Spencer did not want to return to her sales associate duties.


She complained about not being allowed to take money out of the store to the bank for

her private mileage. I explained that was the manager's job. The manager is responsible

for the deposits.

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          Charge of Wrongful Termination of William Matthew Wade against
                         The State of Alabama ABC Board
I went to Manager Ill Paul Cook and District Supervisor Haynie with the insubordinate

behavior of Sales Associate Shante Spencer. Neither did anything to correct her.


Sales Associate Shante Spencer became angry, insubordinate, and defiant toward me for

the next nine months. Sales Associate Shante Spencer started taking tens thousands of

dollars out of the store safe unverified to the bank without authorization. I documented

over nine months of her infractions. Sales Associate Shante Spencer started walking off

the job and got another sales associate to do the same. They both told me if they could

not go to the bank and get the travel money. They were not going to do anything else.

When I asked Ms. Spencer to show another sales associate how to do something, she

said I could do it myself. Board Supervisors Cannon, Haynie and Green heard and knew

they were being insubordinate. Neither of the Supervisors stopped their behavior. Both

sales associates were new hires and personal friends of the Supervisors. Both were in

their thirties and female.


I reported, the younger females under forty, for the insubordination. All the

documentation I had written and compiled were submitted to my District Supervisor

Haynie. She repeatedly replied she had handled it. Their attitude never changed. I finally

asked District Supervisor Haynie after nine months, to show me something Sales

Associate Shante Spencer had signed. District Supervisor Haynie said; "she did not have

anything."




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          Charge of Wrongful Termination of William Matthew Wade against
                         The State of Alabama ABC Board
District Supervisor Haynie asked me to start over fresh with Sales Associate Shante

Spencer. I said no, it has been too long. Shante Spencer has been rude and disrespectful

to customers, employees and myself. She walked off the job in front of Manager Ill Paul

Cook while I was standing there.


A meeting was scheduled in Montgomery to address the insubordination on Sales

Associate Shante Spencer. I have an audio recording of the meeting August 27, 2020

where Chief Officer Neal Graff, Director Larrison, Assistant Director Cannon, District

Supervisor Haynie, and Sales Associate Shante Spencer lied to cover up Sales Associate

Shante Spencer's insubordination to me. HR Director Tonia Stephens was in attendance.

I documented and submitted reports to District Supervisor Haynie, Director Larrison,

Personnel and the H.R. Director Tonia Stephens. In the meeting Chief Officer Neal Graff

read my documentation to Sales Associate Shante Spencer and asked her if this was

correct. She replied; no sir. I said out loud; I would be deposed for these documents.

These can be provided if needed along with the audio recording.


To add to my experience of age discrimination, I would like to report that my immediate

supervisor, District Supervisor Haynie, often referred to me in a derogatory manner,

saying I am "old school". She did this quite regularly and it affected the way I feel about

myself, even though I did not normally reply.


I was given a "warning" by Manager Ill Paul Cook September 14, 2021, for a refund

transaction that occurred on August 21, 2020. This was specifically prepared by Director


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          Charge of Wrongful Termination of William Matthew Wade against
                         The State of Alabama ABC Board
Larrison according to Manager Ill Paul Cook. I was previously asked if I would accept a

'counseling' for this transaction by District Supervisor Haynie and Manager Ill Cook from

Director Larrison on August 28, 2020, one day after the cover up meeting in

Montgomery. I have a copy of the 'counseling' that was never given to me I can provide.

I replied I did not think I had done anything wrong. A week went by and I went on a

short vacation. When I returned on September 14, 2021 Manager Ill Cook said he would

need for me to sign "the counseling" that was discussed before I left. He presented to

me a 'warning' instead. I said; "this is not a "counseling." He said; "I know. Director

Larrison changed it to a 'warning.' The language is far more egregious. Manager Ill Cook

said; "Director Larrison wrote it." I signed the warning.


I asked Manager Ill Cook, "what did Sales Associate Shante Spencer get for her refund

infraction that left my register drawer short $257.92 on July 31, 2020?" When I

approached you before leaving that day, you called Sales Associate Shante Spencer on

her cell phone and asked if she did a refund on my register? She said yes, she used a

calculator. She did not know how to do this type of transaction and did not seek out

anyone for help. Manager Ill Cook and I were both here and available. Manager Ill Cook

adjusted what he could for Sales Associate Shante Spencer that day, leaving product

gone and my register drawer still short. She received no corrective action.




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          Charge of Wrongful Termination of William Matthew Wade against
                         The State of Alabama ABC Board
I had one refund transaction and did not leave the store short money or product. I

called the customer and explained we had their refund money and they could come pick

it up, or I could bring it to them. I have documentation that can be provided.


I am not the only employee who experienced age discrimination who has worked for

The ABC Board. There are at least two other employees I know about who work here

that were discriminated against because of their age and gender by The State of

Alabama ABC Board.


I was transferred without any paper work from #236 Warehouse Tarrant to Pinson #230

on November 16, 2020 while on vacation. On November 5, 2020, a couple of days

before I went on vacation. Sales Associate Shante Spencer broke another Policy and

Procedure rule and went into another sales associates cash drawer and had overdrawn

it. I reported this infraction to Manager Ill Paul Cook, who responded; "I don't give a

f*ck"


I was moved to the Pinson Store #230 because Sales Associate Shante Spencer, a

younger female with less experience, could have my job duties and mileage I received as

a manager.


The Sales Associate at the Pinson Store #230 where I was relocated, a sixty-year-old

male, Albert Duncan was told he would be promoted to manager two months earlier. He

is on the active managers list and District Supervisor Haynie told him it would be his




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              Charge of Wrongful Termination of William Matthew Wade against
                             The State of Alabama ABC Board
store. He is a male, sixty years old, with fourteen years employment of The State of

Alabama ABC Board.


I have another audio recording of Assistant Director Cannon at the Pinson store #230

November 19, 2020, lying to me to cover up why I was transferred to Pinson that can be

provided as well. She said; "it was not retaliation, there were no candidates on the

managers list for this store."


I was given permission on November 19, 2020, by Ms. Cannon, to work the rest of the

month of November out at Tarrant Store #236. I went the next day. Assistant Director

Cannon approached me in the warehouse and started berating and threating me in

front of the entire staff for being there. I said you told me I could work here until the

end of the month. She started yelling at me, that is off the table. "You don't work here

anymore!" I said you lied to me. Al Duncan has been running store #230 Pinson for two

months and is on the managers list. You said no one was. She said "it does not matter" I

responded "it does matter." She said angrily; "you are not working here anymore and

you are going to have to leave." I said; "you lied to me." AL Duncan is on the list and

wants the store." She said; "it is none of your business." I disagreed. She yelled at me.

She told me leave and hand in my keys. Assistant Director Cannon resigned a short time

after this.


After Ms. Cannon resigned, I asked new Assistant Director Jarrod Jones in a phone call

January 5, 2021, if I could have my manager job back at Store #236 Tarrant. He said I

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             Charge of Wrongful Termination of Wiiiiam Matthew Wade against
                            The State of Alabama ABC Board
would have to send in an ABC-4-11-1 SC transfer request to Chief Officer Mr. Graff,

District Supervisor Ms. Haynie and himself. I sent the request in via email. It only took

Ms. Haynie a few minutes to send in her reply. She said, No no no. I called her to ask

why. Ms. Haynie remarked, she liked me. I was a good manager but with all the

problems we had last summer between Shante and myself, she did not think it was a

good fit. I replied back, Shante broke many Policies and Procedures. It was all covered

up, that was the problem. Ms. Haynie said, Mr. Graff told everybody there were some

teachable moments at the meeting in Montgomery August 27, 2020. I replied back,

Shante lied about what happened. Ms. Haynie said without hesitation, well they're

gonna lie.


New Assistant Director Jarrod Jones said to me in a phone conversation February 2,

2021 in regards to going to work in Moody for one day, February 3, 2021. 'You are not

being targeted." The very same words the former Assistant Director Cannon said to me.


Assistant Director Jarrod Jones said; "There is a problem with two girls working in

Moody." One of them was a temporary sales associate. I was being sent there to see if it

was a management or an employee issue. I said to Assistant Director Jones. "I am not a

mediator." This is the District Supervisors job to settle this. Assistant Director Jones said;

"we can move anybody anywhere we want."


On February 4, 2021, Manager Barry Bevis, at Trussville #39, where I was working on that

day heard the last part of the phone conversation to District Supervisor Harkins, "I am

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          Charge of Wrongful Termination of William Matthew Wade against
                         The State of Alabama ABC Board
not refusing." Ms. Harkins told me she would call me back, but never did. She had just

brought in a new sales associate to Trussville. Manager Barry Bevis received a phone call

later from District Supervisor Harkins she said to leave everyone where they were and

never called me back. He testified at my pretermination hearing I did not refuse; District

Supervisor Harkins was lying to me also. She wanted me to go to Moody to work for a

sales associate. I asked her; "why aren't you sending one of the six sales associates here

on temporary assignment?" "Or the new guy Milton, he is also a sales associate." "I am a

manager." She said; "Milton wanted to transfer to Trussville." I said; "he did not transfer

here." "He has already told me he is on temporary assignment." "He will go back to his

store like all of the other sales associates when the closed stores reopen." This is what

they are saying is insubordinate. Because I questioned why they were trying to put me in

a sales associate's position.


My termination was due to the documentation and reporting of insubordination for

over a year from a younger female subordinate with less experience, Sales Associate

Shante Spencer. I also filed three Ethics Board complaints (1) Complaint against District

Supervisor Alicia Greene August 4, 2020. Ms. Greene opened a "for profit snack store" in

her office at our ABC Store #236 in Tarrant (2) Concerning the insubordination by

Shante Spencer cover up meeting by Chief Officer Neil Graff August 27, 2020. (3)

Complaint against Director Debra Larrison for personally writing me a 'warning' for a

refund and nothing for Ms. Spencer for her refund. Ms. Larrison was retaliating against


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          Charge of Wrongful Termination of William Matthew Wade against
                         The State of Alabama ABC Board
me for reporting insubordination and filing complaints for misconduct of her and her

female supervisors. I can provide copies of the complaints and pictures of Ms. Greene's

"office store" if needed. I was in the process of filing a complaint charge with right to

sue letter from The EEOC when my termination occurred.


I was terminated for theft and insubordination on March S, 2021. The theft never

occurred; Regions Bank was in possession of the money. The charge for dismissal for

theft and insubordination was dropped to insubordination. The State never notified me

of this. No one has said when Region's Bank credited the store with the deposit

allegedly stolen.




Sincere Regards,


William Wade,




                                             10
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Pro Sc 7 (Rev 10/16) Complaint for Employmen1 Discrimination


          B.        It is my best recollection that the alleged discriminatory acts occurred on date(s):
                    November 19, 2020 - March 5, 2021



          C.        I believe that defendant(s) (check one):
                    D         is/are still committing these acts against me

                    IXl       is/are not still committing these acts against me
          D.        Defendant(s) discriminated against me based on my (check all that apply and
                    explain):
                    D         race
                    D         color

                    5'I       gender/sex
                    D         religion
                    D         national origin

                              age (year of birth)              1961
                                                     (only when asserting a claim of age discrimination)
                    D         disability or perceived disability (.specifY disability) _ _ _ _ _ _ __


          E.        The facts of my case are as follows. Attach additional pages if needed. _ _ __
                    See attached.




                    (Note: As additional support for the facts of your claim, you may attach to this
                    complaint a copy of your charge filed with the Equal Employment Opportunity
                    Commission, or the charge filed with the relevant state or city human rights
                    division.)


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 EEOC Form 161 (1112020)                 U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    William M. Wade                                                                 From:    Birmingham District Office
       1113 Sunset Boulevard                                                                    Ridge Park Place
       Birmingham, AL 35213                                                                     1130 22nd Street South
                                                                                                Birmingham, AL 35205



      D                     On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.l{a))
 EEOC Charge No.                                EEOC Representative                                                    Telephone No.

                                                WESLEY BERTA,
 420-2021-02031                                 Investigator                                                           (205) 651-7058
THE EEOC JS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
      D           The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

      D          Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

      D          The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

      D          Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
      []]        The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                 determination about whether further investigation would establish violations of the statute. This does not mean the claims
                 have no merit. This detenmination does not certify that the respondent is in compliance with the statutes. The EEOC
                  makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.
      D          The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

      D          Other (briefly state)

                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The lime limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years 13 years\
before you file suit may not be collectible.

                                                                     On behalf of the Commission
                                                                                                      DigitallysignedbyMICHAELCOCHRAN
                                                        MICHAEL COCHRAN
                                         ~~~~~~~~~~~~~~~~~~~~~-
                                                                                                      Date:2021.10.2615:10:51-05'00'
                                                                                                                    -~~~~~~~~~~



 Enclosures(s)                                                                                                               (Date Issued)
                                                           !J"" BRADLEY A. ANDERSON,
                                                                  District Director
cc:
            Robert Hill
            General Counsel
            ALABAMA ABC BOARD
            2715 GUNTER PARK DR W
            Montgomery, AL 36109
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Enclosure with EEOC
Form 161 (11/2020)

                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC

                               (This information relates to filing suit in Federal or State court under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)


                                       Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                    Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years 13 years! before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10- not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION                   --   Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                            ••   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                 IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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Pro Se 7 (Rev. 10/16) Complaint for Employment Discrimination


IV.       Exhaustion of Federal Administrative Remedies
          A.        It is my best recollection that I filed a charge with the Equal Employment
                    Opportunity Commission or my Equal Employment Opportunity counselor
                    regarding the defendant's alleged discriminatory conduct on (date): _ _ _ __
                     June 14, 2021

          B.        The Equal Employment Opportunity Commission (check one):
                     D         has not issued a Notice of Right to Sue letter
                     IXl       issued a Notice of Right to Sue letter, which I received on (date): _ _ __
                               October 26, 2021

                               (Note: Attach a copy of the Notice of Right to Sue letter from the Equal
                               Employment Opportunity Commission to this complaint.)
          C.        Only litigants alleging age discrimination must answer this question:
                    Since filing my charge of age discrimination with the Equal Employment
                    Opportunity Commission regarding the defendant's alleged discriminatory
                    conduct (check one):
                    Iii        60 days or more have elapsed
                    D          less than 60 days have elapsed
V.        Relief
          State briefly and precisely what damages or other relief the plaintiff asks the court to
          order. Do not make legal arguments. Include any basis for claiming that the wrongs
          alleged are continuing at the present time. Include the amounts of any actual damages
          claimed for the acts alleged and the basis for these amounts. Include any punitive or
          exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
          actual or punitive money damages.
          My damages are greater than $75,000. I am asking for lost wages, emotional distress,

          court costs and punitive damages.




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Pro Sc 7 (Rev 10/16) Complajnt for Employment Discrimination


VI.       Certification and Closing
          Under Rule 11 of the Federal Rules of Civil Procedure, by signing below, I certify to the
          best of my knowledge, information, and belief that this complaint: (I) is not being
          presented for an improper purpose, such as to harass, cause unnecessary delay, or
          needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual
          contentions have evidentiary support or, if specifically so identified, will likely have
          evidentiary support after a reasonable opportunity for further investigation or discovery;
          and (4) the complaint otherwise complies with the requirements of Rule 11.
          A.        For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-
                    related papers may be served. I understand that my failure to keep a current
                    address on file with the Clerk's Office may result in the dismissal of my case.

                    Date of Signing: _0_1_12_1_12_0_2__2_ _ _ __



                    Signature of Plaintiff:        -c,j~ty) .LJL
                    Printed Name of Plaintiff: _W_ill_ia_m_M_._W_a_d_e_ _ _ _ _ _ _ _ _ __

         B.         For Attorneys
                    Date of Signing: _ _ _ _ _ _ _ _ __



                    Signature of A t t o r n e y : - - - - - - - - - - - - - - - - - - - -
                    Printed Name of Attorney: __________________

                    Bar N u m b e r : - - - - - - - - - - - - - - - - - - - - - - -
                    Name of Law F i r m : - - - - - - - - - - - - - - - - - - - - -
                    Street A d d r e s s : - - - - - - - - - - - - - - - - - - - - -

                    State and Zip C o d e : - - - - - - - - - - - - - - - - - - -

                   Telephone N u m b e r : - - - - - - - - - - - - - - - - - - -
                   E-mail Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



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